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            IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION



UNITED STATES OF AMERICA

v.                                            CASE NO. 4:18-cr-00076-RH

JOHN THOMAS BURNETTE

                Defendants.

___________________________________/



                              JURY INSTRUCTIONS



Members of the Jury:



        It is now my duty to instruct you on the law that you must follow in deciding

the case. When I have finished you will go to the jury room and begin your

deliberations.



        I have written my instructions and will give you copies for reference during

your deliberations. You therefore don’t need to take notes; please just pay close

attention as I go through the instructions with you. I’m going to start with general



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instructions that apply in all criminal cases. Then I’ll address the specific charges

in this case. Then I’ll conclude with general instructions on things like how you

will return your verdict.



        It will be your duty to decide whether the government has proved beyond a

reasonable doubt that the defendant on trial, John Thomas Burnette, is guilty of the

crimes charged in the indictment. You must make your decision based only on the

evidence introduced during the trial. And you must not be influenced in any way

by either sympathy or prejudice for or against Mr. Burnette or the government.



        You must follow the law as I explain it to you whether you agree with the

law or not. And you must follow all of the instructions as a whole. You may not

single out, or disregard, any instruction.



        The indictment is not evidence of guilt. Indeed, every defendant is presumed

by the law to be innocent. The law does not require a defendant to prove his

innocence or to produce any evidence at all. The government has the burden of

proving a defendant guilty beyond a reasonable doubt, and if it fails to do so, you

must find the defendant not guilty.




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        Thus the government’s burden of proof is a strict or heavy burden. It is not

necessary, however, that a defendant’s guilt be proved beyond all possible doubt. It

is only required that the government’s proof exclude any “reasonable doubt” of the

defendant’s guilt.



        A “reasonable doubt” is a real doubt, based on reason and common sense

after careful and impartial consideration of all the evidence.



        Proof beyond a reasonable doubt is proof of such a convincing character that

you would be willing to rely and act on it without reservation in the most important

of your own affairs. If you are convinced the defendant has been proved guilty

beyond a reasonable doubt, say so. If you are not convinced, say so.



        As I have said, you must decide the case based only on the evidence

presented during the trial. The evidence consists of the testimony and exhibits.

What the lawyers say is not evidence. It is your own recollection and interpretation

of the evidence that controls, not theirs. Also, you should not infer from anything I

have said or done that I have any opinion on the merits of the case favoring one

side or the other.




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        As you consider the evidence, you may make deductions and reach

conclusions based on reason and common sense. And you should not be concerned

about whether the evidence is direct or circumstantial. “Direct evidence” is the

testimony of a person who asserts actual knowledge of a fact, such as an

eyewitness. “Circumstantial evidence” is proof of a chain of facts and

circumstances tending to prove, or disprove, a fact in dispute. The law makes no

distinction between the weight you may give to either direct or circumstantial

evidence.



        Now, in saying that you must consider all the evidence, I do not mean that

you must accept all the evidence as true or accurate. You should decide whether

you believe what a witness said and how important the testimony was. You may

believe or disbelieve any witness, in whole or in part. Also, the number of

witnesses testifying on a dispute is not controlling.



        In determining the believability of a witness and the weight to be given the

testimony, you may properly consider how the witness acted as well as what the

witness said. Some things you should consider are:

        (1) Did the witness have an adequate opportunity to see and know the things

the witness testified about?



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        (2) Did the witness have a good memory?

        (3) Was the witness honest and straightforward in answering the questions?

        (4) Did the witness have an interest in the outcome of the case or any reason

not to tell the truth?

        (5) Did the witness’s testimony seem reasonable, considered in the light of

all the evidence and in the light of your own experience and common sense?

        (6) Did the witness do or say something at some other time inconsistent with

the testimony the witness gave before you during the trial?



        The government called two witnesses who were themselves charged in this

case, pled guilty, and agreed to cooperate with the government. Plea bargaining, as

this is sometimes called, is lawful and proper, and is expressly provided for in the

court’s rules. The government also called a witness who was promised immunity

from prosecution, and another who was promised that what he said, if truthful,

would not be used against him. This, too, is lawful and proper. But a witness who

obtains or hopes to obtain more favorable treatment in the witness’s own case may

have a reason to make a false statement. So while witnesses of these kinds may be

entirely truthful when testifying, you should consider their testimony with more

caution than the testimony of other witnesses.




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          That two witnesses pled guilty to charges against them does not mean Mr.

Burnette is guilty of the charges against him. You must evaluate the charges

against Mr. Burnette on their own merits based on the evidence presented in this

trial.



          When knowledge on a technical subject might help the jury, a person having

special training or experience is allowed to state an opinion on the subject. But that

does not mean you must accept the opinion. The same as with any other witness, it

is up to you to decide whether to rely on the testimony.



          A defendant has a right not to testify. But when a defendant does testify, you

should decide in the same way as for any other witness whether you believe the

defendant’s testimony.



          Now let me turn to the charges in this case. Each crime charged in an

indictment is called a “count.” This indictment includes nine counts. The first eight

charge specific offenses involving bribery or extortion. The ninth count charges

false statements. I will address the charges in detail in just a minute, setting out

what the government must have proved to prevail on each count. First, though, let

me explain the meaning of bribery and extortion, as those terms are used in this



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case.



         A “bribe” is a payment of anything of value, including money, to a public

officer in exchange for the officer’s performance of, or agreement to perform, an

official act. The public officer need not actually perform an official act or even

intend to do so; it is enough for the officer to agree to perform an official act,

whether or not he actually intends to perform. The agreement can be formal or

informal, explicit or merely understood, so long as there is in fact an agreement.

The public official need not specify the means he will use to perform the official

act. The public officer at issue in this case is Scott Maddox.



         An “official act” is a decision or action that involves the formal exercise of

governmental power. This case involves only three kinds of possible official acts.

Unless you find there was an official act of one of these three kinds, you cannot

find there was an official act.



         The first is a vote on any matter that was pending or might later come before

a local governmental entity, including the City Commission, the Community

Redevelopment Agency, or the Planning Commission. To count as a matter that

might later come before the governmental entity, a matter need not be identified at



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the time of the payment; it is sufficient if the payment is made in exchange for

favorable treatment on any not-yet-known matter that might later come up for a

vote.



         The second kind of official act is abstaining from a vote—that is, not

voting—on the same kind of matter.



         The third kind of official act is pressuring or advising another official,

including another commissioner or a staff member, on the same kind of matter. But

Mr. Maddox’s advice to a commissioner or staff member was an official act only if

Mr. Maddox knew or intended that the commissioner or staff member would take

formal action based on that advice on a matter that could come before the local

governmental entity. Talking to another commissioner or staff member or

advocating a course of action, without more, is not an official act.



         “Extortion” is the flip side of bribery. Extortion is a public officer’s receipt

of money or anything else of value in exchange for an official act. This constitutes

extortion even if the officer does not use force, threats, or fear; it is enough that the

officer uses his official position to cause a person to make the payment. And as

with bribery, the officer need not actually perform an official act or intend to do so;



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taking the payment is enough.



        A payment to or agreement to pay an officer not involving a past, present, or

possible future official act, known or unknown, is not bribery or extortion.



        A person’s payment to a private consultant or lobbyist to advocate for the

person before a governmental body—or not to advocate for a different person—is

not a bribe. This is so even if the consultant or lobbyist transfers some or all of the

payment to a public officer—so long as the officer does not agree, in exchange for

the payment, to perform an official act. But if the officer agrees to perform an

official act in exchange for the payment, it is a bribe. And if a payment is made

partly in exchange for an official act—that is, as a bribe—and partly for one or

more other purposes, the payment is still a bribe.



        Now let me turn to the specific counts, starting with count 1. This count

charges conspiracy to engage in racketeering activity. Racketeering activity can

include offenses of various kinds. In this case, the only offenses at issue are bribery

or extortion or attempts to engage in bribery or extortion.



        You will note that Mr. Burnette is not charged in this count with actually



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engaging in racketeering activity; he is charged with having conspired to do so. A

conspiracy is an agreement between two or more people to commit a crime—in

this case, to engage in racketeering activity. An undercover agent cannot be a

member of a conspiracy—the agreement must be between two or more other

people.



        The agreement can be formal or informal, explicit or merely understood, so

long as there is in fact an agreement. The essence of a conspiracy is the agreement

itself. Thus a person can be guilty of conspiracy even if the conspirators did not

succeed in accomplishing the unlawful plan.



        A conspiracy is, in effect, a partnership for criminal purposes. Every

member of the conspiracy becomes the agent or partner of every other member. A

person may be a member of a conspiracy without knowing all the details of the

unlawful plan or the names and identities of all the conspirators. If a person has a

general understanding of the unlawful purpose of a plan and willfully joins in the

plan on one occasion, the person commits the crime of conspiracy, even if the

person did not participate before and even if the person played only a minor part.



        But mere presence at the scene of a transaction or event does not make a



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person a conspirator. And the fact that people have associated with one another

does not alone establish that there was a conspiracy. Also, a person who has no

knowledge of a conspiracy, but who happens to act in a way that advances some

purpose of one, is not a conspirator.



        Mr. Burnette can be found guilty on count 1—the charge of conspiracy to

engage in racketeering activity—only if all these facts have been proven beyond a

reasonable doubt:


        First:             Two or more people agreed to try to accomplish an unlawful
                           plan—that is, a plan to participate in the affairs of an enterprise
                           through a pattern of racketeering activity—as charged in the
                           indictment;

        Second:            Mr. Burnette knowingly and willfully joined in the plan;

        Third:             When Mr. Burnette joined in the plan, he specifically intended
                           either (a) to personally participate in committing at least two
                           acts of racketeering activity, or (b) to participate in the
                           enterprise’s affairs, knowing that one or more other members of
                           the conspiracy would commit at least two acts of racketeering
                           activity and intending to help them as part of a pattern of
                           racketeering activity;

        Fourth:            The unlawful plan involved or affected interstate commerce;
                           and

        Fifth:             The conspiracy continued on or after May 9, 2014.



        An “enterprise” is a group of people or entities associated for a common


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purpose of engaging in a course of conduct. In this case, the common purpose must

be engaging in a pattern racketeering activity. The association can be formal or

informal, so long as it is in fact an association for the common purpose.



        “Racketeering activity,” for purposes of this case, means bribery or

extortion, as I have defined those terms.



        A “pattern of racketeering activity” means at least two acts of bribery or

extortion—or attempts to commit bribery or extortion—within 10 years of one

another. The acts of bribery or extortion must be connected to one another by a

common scheme, plan, or motive; a series of separate, isolated, or disconnected

acts is not a pattern.



        “Interstate commerce” is the flow of business activities between any place in

one state and any place outside the state. Conduct “affects” interstate commerce if,

in natural and continuous sequence, the conduct causes an actual effect, positive or

negative, on interstate commerce, in any way or to any degree. The government

does not have to prove that Mr. Burnette intended to affect interstate commerce or

that interstate commerce was actually affected; it is enough if the plan, if actually

carried out, would have affected interstate commerce.



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        Count 2 charges actual or attempted interference with commerce by

extortion. Mr. Burnette can be found guilty of actual interference only if all these

facts have been proved beyond a reasonable doubt:


        First:             Mr. Burnette caused Southern Pines Development LLC to pay
                           money directly or indirectly to Mr. Maddox;

        Second:            Mr. Burnette did so knowingly by means of extortion, as
                           charged in the indictment; and

        Third:             The extortionate transaction delayed, interrupted, or affected
                           interstate commerce.



        “Extortion” and “interstate commerce” have the same meanings I gave you

earlier in these instructions.



        Mr. Burnette can be found guilty of attempting to interfere with commerce

by extortion only if all these facts have been proven beyond a reasonable doubt:


        First:             Mr. Burnette intended to commit the offense of interference
                           with commerce by extortion, as I just defined it; and

        Second:            Mr. Burnette’s intent was strongly corroborated by his taking a
                           substantial step toward committing the crime.



        A “substantial step” is an important action leading up to an offense—not just

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an inconsequential act. It must be more than simply preparing. It must be an act

that would normally result in committing the offense.



        Counts 3 through 6 charge honest services mail fraud. For this purpose,

“mail” includes deliveries by the United States Postal Service or a commercial

interstate carrier such as United Parcel Service or “UPS,” regardless of whether the

delivery crosses state lines or occurs wholly within a single state. Mr. Burnette can

be found guilty on one of these counts only if all these facts have been proven

beyond a reasonable doubt:


        First:             Mr. Burnette knowingly devised or participated in a scheme to
                           fraudulently deprive the public of the right to Mr. Maddox’s
                           honest services through bribery, as charged in the indictment;

        Second:            Mr. Burnette did so with an intent to defraud the public of the
                           right to Mr. Maddox’s honest services; and

        Third:             Mr. Burnette mailed or caused to be mailed some
                           communication or item to carry out the scheme to defraud.



        A “scheme” is any plan or course of action intended to deceive or cheat

someone.



        To “deprive the public” of the right to an officer’s “honest services” is to use

bribery to cause the officer not to honestly perform his official duties. Paying a

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bribe may deprive the public of the bribed officer’s honest services, even if the

officer does not actually take an agreed action and does not perform differently

than the officer would have performed in the absence of the bribe. This may be

true even if the officer’s employer—here the City of Tallahassee—does not suffer

a monetary loss. But if there is no bribe, merely paying an officer or causing an

officer to participate in a matter on which the officer has a conflict of interest does

not deprive the public of the right to honest services, within the meaning of this

count.



         To act with “intent to defraud” means to act knowingly and with the specific

intent to use false or fraudulent pretenses to cause loss of honest services. Proving

intent to deceive alone, without the intent to cause loss of honest services, is not

sufficient to prove intent to defraud.



         The government does not have to prove all the details alleged in the

indictment about the precise nature and purpose of the scheme. The government

does not have to prove the mailed item was itself false or fraudulent or that using

the mail was intended as the specific or exclusive way to carry out the alleged

scheme. The government does not have to prove that the scheme actually

succeeded in defrauding anyone.



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        To “cause” the mail to be used is to do an act knowing that the use of the

mail will follow in the ordinary course of business or when that use can reasonably

be expected to follow.



        Each separate use of the mail as a part of a scheme is a separate crime. Mr.

Burnette is charged in this indictment with four counts of honest services mail

fraud based on four different alleged mailings.



        Counts 7 and 8 charge using a facility of interstate commerce to facilitate

unlawful activity. A cell phone is a facility of interstate commerce—the only such

facility charged in these counts. Bribery is an unlawful activity—the only such

activity charged in these counts. Mr. Burnette can be found guilty on one of these

counts only if all of these facts have been proved beyond a reasonable doubt:


        First:             Mr. Burnette used a cell phone with the specific intent to
                           facilitate bribery, as charged in the count under consideration;

        Second:            Thereafter, Mr. Burnette knowingly performed or attempted to
                           perform an act to facilitate the bribery; and

        Third:             The cell phone was present in the Northern District of Florida
                           when it was used, or the phone was used to communicate with a
                           phone that was present in the Northern District of Florida at that
                           time, or an act thereafter performed to facilitate the bribery was
                           performed in the Northern District of Florida.

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        To “facilitate” means to make easy or less difficult.



        The Northern District of Florida includes 23 counties from Alachua to

Escambia, with Leon County roughly in the middle.



        Count 9 charges making specific false statements to agents of the Federal

Bureau of Investigation. Mr. Burnette can be found guilty on this count only if all

of these facts have been proved beyond a reasonable doubt:


        First:             Mr. Burnette made a statement listed in this count;

        Second:            The statement was false;

        Third:             The falsity concerned a material matter;

        Fourth:            Mr. Burnette acted willfully, knowing that the statement
                           was false; and

        Fifth:             The false statement was made on a matter within the
                           jurisdiction of the executive branch of the United States
                           government.



        A statement is “false” if it is untrue when made and the person making it

knows it is untrue. The government does not have to show that a government

agency was, in fact, deceived or misled.


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        A “material fact” is an important fact—not some unimportant or trivial

detail. The fact must have a natural tendency to influence, or be capable of

influencing, a decision of a department or agency.



        The indictment lists five allegedly false statements. Any one of these could

be enough to support a guilty verdict on this count, but you must all agree on the

same one; it would not be sufficient for some of you to find Mr. Burnette guilty

based on one of the statements while others find him guilty based only a different

statement.



        The Federal Bureau of Investigation is in the executive branch of the United

States government and has jurisdiction to investigate crimes of the kind charged in

this indictment.



        That concludes my discussion of the specific counts. Now let me turn to two

general principles of criminal law under which a defendant may be responsible for

an act that is actually carried out not by the defendant but by someone else. The

first of these two general principles is the concept of directing another person or

aiding and abetting another person. The law recognizes that, ordinarily, anything a



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person can do for one’s self may also be accomplished by directing another person

as an agent, or by acting together with, or under the direction of, another person in

a joint effort.



        So if a defendant directs another person to act, or if a defendant aids and

abets another person by willfully joining together with the person in the

commission of a crime, then the law holds the defendant responsible for the act of

the other person just as though the defendant had personally performed the act.



        But before a defendant can be held criminally responsible for the act of

another, the defendant must willfully associate in some way with the crime and

willfully participate in it. Mere presence at the scene of a crime and even

knowledge that a crime is being committed are not sufficient to establish that a

defendant either directed or aided and abetted the crime. You must find beyond a

reasonable doubt that the defendant was a willful participant and not merely a

knowing spectator.



        The second general principle dealing with the circumstances under which a

defendant may be responsible for an act actually carried out by someone else

applies to conspiracies. A conspirator is responsible under the law for a crime



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committed by another member of the conspiracy during the course of the

conspiracy and to further its objects. So in this case, if you have first found Mr.

Burnette guilty of the conspiracy offense charged in count 1, you may also find

Mr. Burnette guilty on any of counts 2 through 8, even if he did not personally do

the acts involved in those counts, if you find beyond a reasonable doubt all of these

facts:


         First:            The crime charged in the count under consideration was
                           committed by a conspirator during the existence of the
                           conspiracy and to further its objects;

         Second:           Mr. Burnette was a knowing and willful member of the
                           conspiracy at the time of the crime; and

         Third:            The commission of the crime by a conspirator was a reasonably
                           foreseeable consequence of the conspiracy.



         Now some definitions that apply to all the counts.



         An act is done “knowingly” if it is done voluntarily and intentionally and not

because of mistake or accident. An act is done “willfully” if it is done voluntarily

and purposely, with the intent to do something the law forbids, that is, with bad

purpose either to disobey or disregard the law. The person need not be aware of the

specific law or rule that is being violated.




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        The indictment charges that the crimes were committed “on or about”

specified dates or during a period starting and ending “on or about” specified dates.

The government does not have to prove with certainty the exact date of a crime. It

is sufficient if the government proves beyond a reasonable doubt that the crime

was committed on a date or during a period reasonably near the date or period

alleged.



        Now finally, some concluding general instructions.



        As I have told you before, you must make your decision based only on the

evidence presented during the trial. And I emphasize that you are here to determine

whether the government has proved beyond a reasonable doubt that Mr. Burnette is

guilty of the specific crimes charged in the indictment. You are not here to

determine any other issue.



        In that respect, you may have noticed that I have not said anything to this

point about how the government conducted the investigation that led to this

indictment. I have not discussed this because how the government conducted the

investigation is not an issue you will be called on to address. The government is

allowed to use undercover agents to investigate possible criminal activity and to



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provide individuals an opportunity to commit crimes of a kind they may already be

inclined to commit. Doing so is not improper, and whether or not you approve of

how the government conducted this investigation, you cannot return a verdict for

Mr. Burnette on that basis. You must instead apply the standards I gave you when I

was discussing the charges a few minutes ago.



        You must consider each count individually. Your verdict on any one count

will not determine your verdict on any other count.



        You should not consider the question of punishment in any way. If a

defendant is convicted, the punishment is for the judge alone to determine, later.



        Any verdict, whether guilty or not guilty, must be unanimous. In other

words, to return a verdict you must all agree. Your deliberations will be secret.

You will never have to explain your verdict to anyone.



        It is your duty as jurors to discuss the case with one another in an effort to

reach agreement if you can do so. Each of you must decide the case for yourself,

but only after full consideration of the evidence with the other jurors. While you

are discussing the case do not hesitate to reexamine your own opinion and change



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your mind if you become convinced that you were wrong. But do not give up your

honest beliefs just because the others think differently or merely to get the case

over with.



        Remember that in a real way you are judges—judges of the facts. Your only

interest is to seek the truth from the evidence.



        When you go to the jury room you should first select a foreperson. The

foreperson will preside over your deliberations and will speak for you here in the

courtroom.



        A verdict form has been prepared for your use. [Explanation of verdict

form.] You will have in the jury room the exhibits, a copy of the indictment, 12

copies of the verdict form, and 12 copies of these instructions. When you reach

unanimous agreement, your foreperson will fill in the one original verdict form,

date and sign it, and tell the court security officer you have reached a verdict. Do

not give the verdict form to the court security officer. Your foreperson will carry

the verdict form when you are brought back into the courtroom, and the verdict

will be announced in open court. None of you should bring back into the

courtroom another copy of the verdict form—the other copies are provided for



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your convenience, but they should not be filled out and signed or brought back into

the courtroom.



        I am the only person who can give you instructions or explain anything

about the law, the schedule, or procedures from this point forward. If you have

questions or wish to communicate with me at any time, please write down your

message or question and give it to the court security officer. The officer will bring

it to me, and I will respond as soon as possible, either in writing or by having you

returned to the courtroom so that I can address you orally. In any message or

question you send, you should not tell me your numerical division at the time.




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